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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No.:      CV 20-01882 RAO                                     Date:    October 12, 2021
 Title:         James Shayler v. Ehab S. Yacoub, et al.



 Present:          The Honorable ROZELLA A. OLIVER, U.S. MAGISTRATE JUDGE

                Donnamarie Luengo                                      N/A
                  Deputy Clerk                                Court Reporter / Recorder

      Attorneys Present for Plaintiff(s):                 Attorneys Present for Defendant(s):

                       N/A                                               N/A

Proceedings:            (In Chambers) ORDER DENYING DEFENDANTS’ MOTION TO
                        CONTINUE HEARING [90]

       On September 14, 2021, Plaintiff filed a motion for attorney’s fees (“Motion”), setting a
hearing date of October 13, 2021. Dkt. No. 85. On September 30, 2021, Defendants filed an
opposition to the Motion. Dkt. No. 88.

        On October 6, 2021, Defendants filed a motion to continue the October 13, 2021 hearing
on the ground that their motion to vacate (Dkt. No. 83) was still pending. Dkt. No. 90. On
October 8, 2021, the Court denied Defendants’ motion to vacate. Dkt. No. 94. On October 11,
2021, Defendants filed an amended opposition to the Motion. Dkt. No. 95.

        Having reviewed the papers filed in support of and opposing the Motion, the Court finds
the matter suitable for decision without oral argument. See Fed. R. Civ. P. 78; L.R. 7-15. The
October 13, 2021 hearing is hereby vacated. An order will issue on the Motion as soon as
practicable. Defendants’ motion to continue the hearing is DENIED as moot.

       IT IS SO ORDERED.




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                                                                Initials of Preparer   dl




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